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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MONTANA

                                  BUTTE DIVISION

 SANDRA FIKANI,

                             Plaintiff,          No. CV 19-64-BU-SEH

 vs.
                                                 ORDER
 UNITED STATES OF AMERICA and
 C&W FACILITY SERVICES, INC.,

                             Defendants.

       On September 30, 2020, the United States moved for summary judgment. 1

The motion was denied without prejudice for failure to comply with L.R.

7.l(c)(l).2 A second motion for summary judgment was filed on October I, 2020,3

without a brief in support or a statement of undisputed facts as required by L.R.

7.l(d)(l)(A) and L.R. 56.l(a).




       1
           Doc. 33.
       2
           Doc. 36.
       3
           Doc. 37.
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